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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

TOM HILL,                                           §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                   6:17-CV-021-RP
                                                    §
PEPPER HAMILTON LLP, et al.,                        §
                                                    §
                                                    §
                Defendants.                         §


                                        FINAL JUDGMENT

        Before the Court is the above entitled cause of action. On this day, the Court entered an

order regarding all pending motions in the case, and thus dismissed all of Plaintiff’s claims.

Accordingly, the Court renders the following Final Judgment pursuant to Federal Rule of Civil

Procedure 58.

        IT IS ORDERED that all claims and causes of action brought by Plaintiff Tom Hill against

Defendant Neal Jones are hereby DISMISSED WITHOUT PREJUDICE.

        IT IS FURTHER ORDERED that all claims and causes of action brought by Plaintiff

Tom Hill against Defendants Pepper Hamilton, Leslie Gomez, and Gina Smith are hereby

DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that all relief not expressly granted is hereby DENIED

and that each party shall bear their own attorney’s fees and costs of court.
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IT IS FURTHER ORDERED that all hearing and trial settings are hereby CANCELED.

IT IS FINALLY ORDERED that the case is hereby CLOSED.

SIGNED on May 31, 2017.




                               _____________________________________
                               ROBERT PITMAN
                               UNITED STATES DISTRICT JUDGE




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